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 8                                     UNITED STATES DISTRICT COURT
                                      WESTERN DISTRICT OF WASHINGTON
 9                                              AT TACOMA

10    UNITED STATES OF AMERICA,
11                     Plaintiff,
                                                                Case No. CR05-5828FDB
12            v.
                                                                ORDER DENYING MOTION FOR
13    BRIANA WATERS,                                            RECONSIDERATION
14                     Defendant.
15
             Defendant Waters moves for reconsideration of the Court’s Order prohibiting contact with
16
     the jurors in this case. Having reviewed Defendant’s motion, the Court is not inclined to change its
17
     earlier ruling in this matter.
18
             ACCORDINGLY, IT IS ORDERED: Defendant Waters’ Motion for Reconsideration Re:
19
     Juror Contact [Dkt. # 396] is DENIED.
20
             DATED this 8th day of April, 2008.



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23                                          FRANKLIN D. BURGESS
                                            UNITED STATES DISTRICT JUDGE
24

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26   ORDER - 1
